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                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

ARVEST BANK,

       Plaintiff,                           CIVIL ACTION FILE NO.
v.
                                            ________________________
PHILLIP EDWARD MILES and
MARK GRADY MILES,

       Defendants.

               COMPLAINT FOR BREACH OF GUARANTIES

      Arvest Bank (“Arvest”), by and through its counsel hereby files this

Complaint against Phillip Edward Miles and Mark Grady Miles (together, the

“Guarantors”) for breach of their personal guaranties of four finance agreements.

                                     PARTIES

      1.     Arvest is an Arkansas state-chartered bank and Arkansas Corporation

with its principal place of business located in Fayetteville, Arkansas.

      2.     The first defendant in this action is Phillip Edward Miles, an individual

who resides and is domiciled in Fulton County, Georgia, and who may be served at

300 Hayward Lane, Alpharetta, GA 30022.
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      3.     The second defendant in this action is Mark Grady Miles, an individual

who resides and is domiciled in Lincoln County, Oklahoma, and who may be served

at 12720 North Douglas Blvd. Jones, Oklahoma 73049-3441.

                            JURISDICTION AND VENUE

      4.     This Court has jurisdiction over the subject matter of this Complaint

pursuant to 28 U.S.C. § 1332 as there is complete diversity of citizenship between

Plaintiff and all Defendants, and the amount in controversy exceeds $75,000.00.

      5.     This Court has personal jurisdiction over all Defendants.

      6.     Venue is proper in the Northern District of Georgia pursuant to 28

U.S.C. § 1391(b)(2) as a substantial part of the events giving rise to Plaintiff’s cause

of action occurred in this judicial district.

                              STATEMENT OF FACTS

      7.     On November 1, 2021, CurePoint, LLC (“CurePoint”) a Georgia

limited liability company with its principal place of business located in Alpharetta,

Georgia, executed and delivered a finance agreement (“CurePoint’s First

Agreement”) to Arvest, for the repayment of a $179,399.00 financing agreement.

      8.     A true and correct copy of CurePoint’s First Agreement is attached as

Exhibit A and incorporated by reference.




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      9.    In CurePoint’s First Agreement, CurePoint promised to repay the

principal amount of $179,399.00 and interest on the principal balance at an annual

rate 5.99%, through 36 monthly payments of $5,490.79 starting on January 1, 2022.

      10.   Pursuant to section 10 of CurePoint’s First Agreement, it is an event of

default for CurePoint to file a petition under the Bankruptcy Code.

      11.   On August 19, 2022, CurePoint filed a petition under the Bankruptcy

Code in the United States Bankruptcy Court for the Northern District of Georgia (the

“CurePoint Bankruptcy”).

      12.   CurePoint defaulted under CurePoint’s First Agreement by filing a

petition under the Bankruptcy Code.

      13.   CurePoint defaulted under CurePoint’s First Agreement by failure to

make payments as they came due.

      14.   Section 12 of CurePoint’s First Agreement also provides that CurePoint

owes late fees equal to 5% of the unpaid amount for any payment more than 10 days

past due.

      15.   In the event of a default, CurePoint’s First Agreement allows the holder

to recover “reasonable attorney’s fees and costs” and charge interest at the rate of

one and one half percent (1.5%) per month until paid (i.e. 18% per annum).




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      16.   Section 15 of CurePoint’s First Agreement provides the agreement is

“governed and construed in accordance with” Arkansas State Law.

      17.   Phillip Edward Miles unconditionally guaranteed CurePoint’s First

Agreement obligations under an Unconditional Guarantee.

      18.   Mark Grady Miles also unconditionally guaranteed CurePoint’s First

Agreement obligations under an Unconditional Guarantee.

      19.    A true and correct copy of the Mr. Phillip Miles and Mr. Mark Miles

unconditional guarantees to CurePoint’s First Agreement is attached as Exhibit B

and incorporated by reference.

      20.   Both the Mr. Phillip Miles and Mr. Mark Miles guarantees to

CurePoint’s First Agreement allow for the recovery of attorney’s fees and costs.

      21.   On November 16, 2021, CurePoint executed and delivered a finance

agreement (“CurePoint’s Second Agreement”) to Arvest, for the repayment of a

$699,859.00 financing agreement.

      22.   A true and correct copy of CurePoint’s Second Agreement is attached

as Exhibit C and incorporated by reference.

      23.   In CurePoint’s Second Agreement, CurePoint promised to repay the

principal amount of $699,859.00 and interest on the principal balance at an annual




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rate of 4.99%, through 48 monthly payments of $16,203.38 starting on January 16,

2022.

        24.   Pursuant to section 10 of CurePoint’s Second Agreement, it is an event

of default for CurePoint to file a petition under the Bankruptcy Code.

        25.   CurePoint defaulted under CurePoint’s First Agreement by filing a

petition under the Bankruptcy Code.

        26.   CurePoint defaulted under CurePoint’s First Agreement by failing to

make payment as they came due.

        27.   Section 12 of CurePoint’s Second Agreement provides that CurePoint

owes late fees equal to 5% of the unpaid amount for any payment more than 10 days

past due.

        28.   In the event of a default, CurePoint’s Second Agreement allows the

holder to recover “reasonable attorney’s fees and costs” and charge interest at the

rate of one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

        29.   Section 15 of CurePoint’s Second Agreement provides the agreement

is “governed and construed in accordance with” Arkansas State Law.

        30.   Phillip Edward Miles unconditionally guaranteed CurePoint’s Second

Agreement obligations under an Unconditional Guarantee.




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      31.    Mark Grady Miles also unconditionally guaranteed CurePoint’s Second

Agreement obligations under an Unconditional Guarantee.

      32.    A true and correct copy of the Mr. Phillip Miles and Mr. Mark Miles

unconditional guarantees to CurePoint’s Second Agreement is attached as Exhibit

D and incorporated by reference.

      33.    Both the Mr. Phillip Miles and Mr. Mark Miles guarantees to

CurePoint’s Second Agreement allow for the recovery of attorney’s fees and costs.

      34.    On April 15, 2022, Zeroholding, LLC (“Zeroholding”) a Nevada

limited liability company with its principal place of business located in Alpharetta,

Georgia executed and delivered a finance agreement (“Zeroholding’s First

Agreement”) to Arvest, for the repayment of a $99,365.50 financing agreement.

      35.    A true and correct copy of Zeroholding’s First Agreement is attached

as Exhibit E and incorporated by reference.

      36.    In Zeroholding’s First Agreement, Zeroholding promised to repay the

principal amount of $99,365.50 and interest on the principal balance at the annual

rate of 10.090%, through 60 monthly payments of $2,193.93.

      37.    Pursuant to section 10 of Zeroholding’s First Agreement, it is an event

of default for Zeroholding to file a petition under the Bankruptcy Code.




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      38.   On August 19, 2022, Zeroholding filed a petition under the Bankruptcy

Code in the United States Bankruptcy Court for the Northern District of Georgia (the

“Zeroholding Bankruptcy”).

      39.   Zeroholding defaulted under Zeroholding’s First Agreement by filing a

petition under the Bankruptcy Code.

      40.   Zeroholding defaulted under Zeroholding’s First Agreement by failing

to make payment as they came due.

      41.   Section 12 of Zeroholding’s First Agreement also provides that

Zeroholding owes late fees equal to 5% of the unpaid amount for any payment more

than 10 days past due.

      42.   In the event of a default, Zeroholding’s First Agreement allows the

holder to recover “reasonable attorney’s fees and costs” and charge interest at the

rate of one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

      43.   Section 15 of Zeroholding’s First Agreement provides the agreement is

“governed and construed in accordance with” Arkansas State Law.

      44.   Phillip Edward Miles unconditionally guaranteed Zeroholding’s First

Agreement obligations under an Unconditional Guarantee.




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      45.    A true and correct copy of the Mr. Phillip Miles’ unconditional

guarantee to Zeroholding’s First Agreement is attached as Exhibit F and

incorporated by reference.

      46.    Mark Grady Miles also unconditionally guaranteed Zeroholding’s First

Agreement obligations under an Unconditional Guarantee.

      47.    A true and correct copy of the Mr. Mark Miles unconditional guarantee

to Zeroholding’s First Agreement is attached as Exhibit G and incorporated by

reference.

      48.    Both Mr. Phillip Miles and Mr. Mark Miles guarantees to

Zeroholding’s First Agreement allow for the recovery of attorney’s fees and costs.

      49.    On June 1, 2022, Zeroholding executed and delivered a finance

agreement (“Zeroholding’s Second Agreement”) to Arvest, for the repayment of a

$50,515.44 financing agreement.

      50.    A true and correct copy of Zeroholding’s Second Agreement is attached

as Exhibit H and incorporated by reference.

      51.    In Zeroholding’s Second Agreement, Zeroholding promised to repay

the principal amount of $50,315.44 and interest on the principal balance at the annual

rate of 8.290%, through 60 monthly payments of $1,041.64 starting on July 26, 2022.




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      52.   Pursuant to section 10 of Zeroholding’s Second Agreement, it is an

event of default for Zeroholding to file a petition under the Bankruptcy Code.

      53.   Zeroholding defaulted under Zeroholding’s Second Agreement by

filing a petition under the Bankruptcy Code.

      54.   Zeroholding defaulted under Zeroholding’s First Agreement by failing

to make payment as they came due.

      55.   Section 12 of Zeroholding’s Second Agreement also provides that

Zeroholding owes late fees equal to 5% of the unpaid amount for any payment more

than 10 days past due.

      56.   In the event of a default, Zeroholding’s Second Agreement allows the

holder to recover “reasonable attorney’s fees and costs” and charge interest at the

rate of one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

      57.   Section 15 of Zeroholding’s Second Agreement provides the agreement

is “governed and construed in accordance with” Arkansas State Law.

      58.   Phillip Edward Miles unconditionally guaranteed Zeroholding’s

Second Agreement obligations under an Unconditional Guarantee.

      59.   A true and correct copy of the Mr. Phillip Miles’ unconditional

guarantee to Zeroholding’s Second Agreement is attached as Exhibit I and

incorporated by reference.

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      60.    Mark Grady Miles also unconditionally guaranteed Zeroholding’s

Second Agreement obligations under an Unconditional Guarantee.

      61.    A true and correct copy of the Mr. Mark Miles unconditional guarantee

to Zeroholding’s Second Agreement is attached as Exhibit J and incorporated by

reference.

      62.    Both the Mr. Phillip Miles and Mr. Mark Miles guarantees to

Zeroholding’s Second Agreement allow for the recovery of attorney’s fees and costs.

      63.    Mr. Phillip Miles defaulted under his personal guaranty to CurePoint’s

First Agreement by failing to answer for CurePoint’s obligations in this agreement.

      64.    Mr. Phillip Miles defaulted under his personal guaranty to CurePoint’s

Second Agreement by failing to answer for CurePoint’s obligation in this agreement.

      65.    Mr.     Phillip Miles defaulted under his personal guaranty to

Zeroholding’s First Agreement by failing to answer for Zeroholding’s obligations in

this agreement.

      66.    Mr. Phillip Miles defaulted under his personal guaranty to

Zeroholding’s Second Agreement by failing to answer for Zeroholding’s obligations

in this agreement.

      67.    Mr. Mark Miles defaulted under his personal guaranty to CurePoint’s

First Agreement by failing to answer for CurePoint’s obligations in this agreement.

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      68.    Mr. Mark Miles defaulted under his personal guaranty to CurePoint’s

Second Agreement by failing to answer for CurePoint’s obligations in this

agreement.

      69.    Mr. Mark Miles defaulted under his personal guaranty to Zeroholding’s

First Agreement by failing to answer for Zeroholding’s obligations in this

agreement.

      70.    Mr. Mark Miles defaulted under his personal guaranty to Zeroholding’s

Second Agreement by failing to answer for Zeroholding’s obligations in this

agreement.

      71.    As of the filing of this Complaint, neither Mr. Phillip Miles nor Mr.

Mark Miles has paid the indebtedness under any of the four agreements of their

respective guarantees.

      72.    As a result of Guarantors’ defaults and breaches of their personal

guarantees of the agreements, Guarantors owe Arvest the total amount of

$922,971.82, which consists of (i) $915,663.56 in principal; (ii) $200.00 in late fees

and (ii) $7,108.26 in interest, with additional interest accruing from August 19, 2022

at the default rate of interest of one and one half percent (1.5%) per month until paid

(i.e. 18% per annum). The total amount does not include attorney’s fees or costs of




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collection incurred in this action, the CurePoint Bankruptcy, Zeroholding

Bankruptcy or otherwise.

       73.    Arvest hereby provides notice to Guarantors of its intent to collect

attorney’s fees under the agreements and their guarantees.

                                   COUNT ONE
                           BREACH OF CONTRACT
                    (AGAINST PHILLIP EDWARD MILES)
       74.    Arvest incorporates paragraphs 1 through 73 of this Complaint as if the

same were fully restated and set forth verbatim in this sentence.

       75.    Mr. Phillip Miles breached his contractual obligations under his

personal guaranty of CurePoint’s First Agreement by failing to pay all amounts due

under this agreement following CurePoint’s default.

       76.   As a result of Mr. Phillip Miles default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $149,203.50, which consists

of (i) $147,949.33 in principal; (ii) $50.00 in late fees (iii) $1,204.17 in interest, with

additional interest accruing from August 19, 2022 at the default rate of interest of

one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

       77.    Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in CurePoint’s First Agreement and Mr.

Phillip Mile’s guaranty of this agreement.


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      78.    As provided in Ark. Code Ann. § 16-22-308, Mr. Phillip Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      79.    Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Phillip Miles under his guaranty incurred by Arvest in this action, the

CurePoint Bankruptcy, or otherwise.

      80.    Wherefore, Arvest is entitled to judgment against Phillip Edward Miles

in the amount of $149,203.50 plus reasonable attorney’s fees and additional

prejudgment interest.

                             COUNT TWO
                        BREACH OF CONTRACT
                   (AGAINST PHILLIP EDWARD MILES)

      81.    Arvest incorporates paragraphs 1 through 80 of this Complaint as if the

same were fully restated and set forth verbatim in this sentence.

      82.    Mr. Phillip Miles breached his contractual obligations under his

personal guaranty of CurePoint’s Second Agreement by failing to pay all amounts

due under this agreement following CurePoint’s default.

      83.    As a result of Mr. Phillip Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $627,946.51, which consists

of (i) $622,325.79 in principal; (ii) $100.00 in late fees; and (iii) $5,520.72 in

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interest, with additional interest accruing from August 19, 2022 at the default rate of

interest of one and one half percent (1.5%) per month until paid (i.e. 18% per

annum).

      84.    Arvest is also entitled to an award of attorney’s fees under Ark. code

Ann. § 16-22-308 based on the language in CurePoint’s Second Agreement and Mr.

Phillip Miles’ guaranty of this agreement.

      85.    As provided in Ark. Code Ann. § 16-22-308, Mr. Phillip Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      86.    Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Phillip Miles under his guaranty incurred by Arvest in this action, the

CurePoint Bankruptcy, or otherwise

      87.    Wherefore, Arvest is entitled to judgment against Phillip Edward Miles

in the amount of $627,946.51 plus reasonable attorney’s fees and additional

prejudgment interest.

                             COUNT THREE
                         BREACH OF CONTRACT
                    (AGAINST PHILLIP EDWARD MILES)

      88.    Arvest incorporates paragraphs 1 through 88 of this Complaint as if the

same were fully restated and set forth verbatim in this sentence.

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      89.    Mr. Phillip Miles breached his contractual obligations under his

personal guaranty of Zeroholding’s First Agreement by failing to pay all amounts

due under this agreement following Zeroholding’s default.

      90.    As a result of Mr. Phillip Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $95,474.83, which consists

of (i) $95,367.91 in principal; and (ii) $106.92 in interest, with additional interest

accruing from August 19, 2022 at the default rate of interest of one and one half

percent (1.5%) per month until paid (i.e. 18% per annum).

      91.    Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in Zeroholding’s First Agreement and Mr.

Phillip Miles’ guaranty of this agreement.

      92.    As provided in Ark. Code Ann. § 16-22-308, Mr. Phillip Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      93.    Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Phillip Miles under his guaranty incurred by Arvest in this action, the

Zeroholding’s Bankruptcy, or otherwise.




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      94.    Wherefore, Arvest is entitled to judgment against Phillip Edward Miles

in the amount of $95,474.83 plus reasonable attorney’s fees and additional

prejudgment interest.

                              COUNT FOUR
                         BREACH OF CONTRACT
                    (AGAINST PHILLIP EDWARD MILES)

      95.    Arvest incorporates paragraphs 1 through 94 of this Complaint as if the

same were fully restated and set forth verbatim in this sentence.

      96.    Mr. Phillip Miles breached his contractual obligations under his

personal guaranty of Zeroholding’s Second Agreement by failing to pay all amounts

due under this agreement following Zeroholding’s default.

      97.    As a result of Mr. Phillip Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $50,346.98, which consists

of (i) $50,020.53 in principal; (ii) $50.00 in late fees; and (ii) $276.45 in interest,

with additional interest accruing from August 19, 2022 at the default rate of interest

of one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

      98.    Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in Zeroholding’s Second Agreement and

Mr. Phillip Miles’ guaranty of this agreement.




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      99.    As provided in Ark. Code Ann. § 16-22-308, Mr. Phillip Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      100. Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Phillip Miles under his guaranty incurred by Arvest in this action, the

Zerholdings Bankruptcy, or otherwise.

      101. Wherefore, Arvest is entitled to judgment against Phillip Edward Miles

in the amount of $50,346.98 plus reasonable attorney’s fees and additional

prejudgment interest.

                                COUNT FIVE
                           BREACH OF CONTRACT
                        (AGAINST MARK GRADY MILES)

      102. Arvest incorporates paragraphs 1 through 101 of this Complaint as if

the same were fully restated and set forth verbatim in this sentence.

      103. Mr. Mark Miles breached his contractual obligations under his personal

guaranty of CurePoint’s First Agreement by failing to pay all amounts due under this

agreement following CurePoint’s default.

      104. As a result of Mr. Mark Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $149,203.50, which consists

of (i) $147,949.33 in principal; (ii) $50.00 in late fees (iii) $1,204.17 in interest, with

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additional interest accruing from August 19, 2022 at the default rate of interest of

one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

      105. Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in CurePoint’s First Agreement and Mr.

Mark Miles’ guaranty of this agreement.

      106. As provided in Ark. Code Ann. § 16-22-308, Mr. Mark Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      107. Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Mark Miles under his guaranty incurred by Arvest in this action, the

CurePoint Bankruptcy, or otherwise.

      108. Wherefore, Arvest is entitled to judgment against Mark Grady Miles in

the amount of $149,203.50 plus reasonable attorney’s fees and additional

prejudgment interest.

                                 COUNT SIX
                           BREACH OF CONTRACT
                        (AGAINST MARK GRADY MILES)

      109. Arvest incorporates paragraphs 1 through 108 of this Complaint as if

the same were fully restated and set forth verbatim in this sentence.




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      110. Mr. Mark Miles breached his contractual obligations under his personal

guaranty of CurePoint’s Second Agreement by failing to pay all amounts due under

this agreement following CurePoint’s default.

      111. As a result of Mr. Mark Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $627,946.51 which consists

of (i) $622,325.79 in principal; (ii) $100.00 in late fees; and (ii) $5,520.72 in interest,

with additional interest accruing from August 19, 2022 at the default rate of interest

of one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

      112. Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in CurePoint’s Second Agreement and Mr.

Mark Miles’ guaranty of this agreement.

       113. As provided in Ark. Code Ann. § 16-22-308, Mr. Mark Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

       114. Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Mark Miles under his guaranty incurred by Arvest in this action, the

Curepoint Bankruptcy, or otherwise.




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      115. Wherefore, Arvest is entitled to judgment against Mark Grady Miles in

the amount of $627,946.51 plus reasonable attorney’s fees and              additional

prejudgment interest.

                               COUNT SEVEN
                           BREACH OF CONTRACT
                        (AGAINST MARK GRADY MILES)

      116. Arvest incorporates paragraphs 1 through 115 of this Complaint as if

the same were fully restated and set forth verbatim in this sentence.

      117. Mr. Mark Miles breached his contractual obligations under his personal

guaranty of Zeroholding’s First Agreement by failing to pay all amounts due under

this agreement following Zeroholding’s default.

      118. As a result of Mr. Mark Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $95,474.83, which consists

of (i) $95,367.91 in principal; and (ii) $106.92 in interest, with additional interest

accruing from August 19, 2022 at the default rate of interest of one and one half

percent (1.5%) per month until paid (i.e. 18% per annum).

      119. Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in Zeroholding’s First Agreement and Mr.

Mark Miles’ guaranty of this agreement.




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      120. As provided in Ark. Code Ann. § 16-22-308, Mr. Mark Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      121. Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Mark Miles under his guaranty incurred by Arvest in this action, the

Zeroholding Bankruptcy, or otherwise.

      122. Wherefore, Arvest is entitled to judgment against Mark Grady Miles in

the amount of $95,474.83 plus reasonable attorney’s fees and additional

prejudgment interest.

                               COUNT EIGHT
                           BREACH OF CONTRACT
                        (AGAINST MARK GRADY MILES)

      123. Arvest incorporates paragraphs 1 through 122 of this Complaint as if

the same were fully restated and set forth verbatim in this sentence.

      124. Mr. Mark Miles breached his contractual obligations under his personal

guaranty of Zeroholding’s Second Agreement by failing to pay all amounts due

under this agreement following Zeroholding’s default.

      125. As a result of Mr. Mark Miles’ default and breach of his personal

guaranty, he is indebted to Arvest in the total amount of $50,346.98, which consists

of (i) $50,020.53 in principal; (ii) $50.00 in late fees; and (ii) $276.45 in interest,

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with additional interest accruing from August 19, 2022 at the default rate of interest

of one and one half percent (1.5%) per month until paid (i.e. 18% per annum).

      126. Arvest is also entitled to an award of attorney’s fees under Ark. Code

Ann. § 16-22-308 based on the language in Zeroholding’s Second Agreement and

Mr. Mark Miles’ guaranty of this agreement.

      127. As provided in Ark. Code Ann. § 16-22-308, Mr. Mark Miles is

obligated to pay “reasonable attorney’s fee to be assessed by the court and collected

as costs.”

      128. Accordingly, Arvest is entitled to recover reasonable attorney’s fees

from Mr. Mark Miles under his guaranty incurred by Arvest in this action, the

Zeroholding Bankruptcy, or otherwise.

      129. Wherefore, Arvest is entitled to judgment against Mark Grady Miles in

the amount of $50,346.98 plus reasonable attorney’s fees and additional

prejudgment interest.

                             PRAYER FOR RELIEF

      WHEREFORE, Arvest prays that:

      (a)    This Court exercise its subject matter jurisdiction in this matter;

      (b)    This Court exercise its jurisdiction over the parties;




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      (c)    Arvest have judgment against Guarantors in the sum and amount of

$922,971.82 plus additional prejudgment interest, reasonable attorney’s fees as

determined by the court, and the costs of this action; and

      (d)    For such other and further relief as the Court may deem just and proper.

                                                    JONES & WALDEN LLC
                                                    /s/ Leslie Pineyro
                                                    Leslie Pineyro
                                                    Georgia Bar No. 969800
                                                    Attorney for Plaintiff
                                                    699 Piedmont Avenue, NE
                                                    Atlanta, Georgia 30308
                                                    (404) 564-9300
                                                    lpineyro@joneswalden.com




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          CERTIFICATE OF COMPLIANCE, FONT & MARGINS

I hereby certify in accordance with LR 7.1(D) and 5.1(C) that I prepared this

document in 14-point Times New Roman font and complied with the margin and

type requirements of this Court.


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